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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MIKHAIL FRIDMAN,              PETR    AVEN,      and
 GERMAN KHAN,

                Plaintiffs,
                                                           Civil Case No. 1:17-cv-2041-RJL
        v.

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                Defendants.


                   MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
                     MOTION FOR AN ORDER TO SHOW CAUSE

       Contrary to the hyperbole in Plaintiffs’ memorandum in support of their Motion to Show

Cause (“Motion”), the events about which Plaintiffs complain have not “threatened the integrity

of this proceeding.” ECF No. 158-1 at 2. Rather, according to Plaintiffs’ own motion, more than

three months ago, a prior attorney of record for Defendants, William Taylor, made one brief

telephone call to Plaintiff German Khan’s son-in-law, Alex van der Zwaan. Within days, Mr. van

der Zwaan had disclosed that call to Plaintiffs’ counsel, who promptly called Mr. Taylor to discuss

the subject of the call. Since then, Defendants’ counsel of record, Joshua Levy, assured Plaintiffs’

counsel that Mr. Taylor’s call was isolated and that there would be no similar contacts with anyone

who is not Plaintiffs’ counsel of record in this case. The parties proceeded with the case, which

had been unaffected by Mr. Taylor’s call to Mr. van der Zwaan.

       However, despite Plaintiffs having suffered no injury as a result of the single phone call at

issue, counsel for Plaintiffs continued to hound Mr. Levy for answers to questions that he could

not answer without divulging privileged communications or protected work product. Mr. Levy

communicated that to counsel for Plaintiffs. Yet Plaintiffs’ counsel sought a Rule 7(m) conference
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on the instant Motion for July 6, 2021, at which Plaintiffs’ counsel made clear that the only remedy

they were seeking through this motion was sanctions, and they could articulate no other harm to

their clients or their clients’ case. Plaintiffs’ counsel said that they needed to understand the full

extent of what occurred, even though Defendants’ counsel had already provided a written

assurance that the call was a one-off (with zero impact on the case) and would not happen again.

On July 8, 2021, despite this assurance and the absence of harm, Plaintiffs filed the instant Motion.

In it, Plaintiffs’ counsel declares they are “loathe to level accusations” and “prefer to focus their

efforts on litigating the merits of this case.” Id. Their motion shows this to be false.

       There is no basis for Plaintiffs’ Motion. Plaintiffs have not demonstrated that they suffered

any harm; there is nothing for the Court to remedy. Plaintiffs have not shown – or even alleged –

that any counsel for Defendants acted in bad faith. And Plaintiffs have not alleged any conduct at

all that suggests that any attorney at Levy Firestone Muse LLP did anything that violated any Rule

of Professional Conduct. The only thing Plaintiffs have shown is that Mr. Levy did not reply to

communications from Plaintiffs’ counsel that demanded information he could not provide.

       Plaintiffs’ Motion should be denied.


I.     THERE IS NO BASIS FOR THE COURT TO SANCTION DEFENSE COUNSEL

       The Court should deny Plaintiffs’ Motion because it is already clear that there is no

justification to impose sanctions on defense counsel. First and foremost, Plaintiffs have not been

harmed by the events described in the Motion, so there is no injury for this Court to redress.

Second, Plaintiffs have not alleged—let alone demonstrated—that defense counsel acted in bad

faith. And finally, Plaintiffs have not set forth any facts that show that Mr. Levy, or any other

attorney at Levy Firestone Muse LLP, violated the D.C. Rules of Professional Conduct.




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       A.      Plaintiffs Have Suffered No Harm.

       Mr. Taylor’s call to Mr. van der Zwaan was on April 8, 2021. ECF No. 158-1 ¶ 3. Even

according to Plaintiffs’ affidavits, this call did not create a “back-channel” with Plaintiffs in

circumvention of their counsel. Within mere days, Plaintiffs’ counsel had been informed of Mr.

Taylor’s call to Mr. van der Zwaan, learned Mr. van der Zwaan’s account of the contents of that

call, and reached out to both Mr. Taylor and Mr. Levy to discuss the subject of the call. See ECF

No. 158-3 (Clare Decl.) ¶ 2; ECF No. 158-4 (Clare Decl. Ex. A).

       Moreover, while being mindful of his obligation to maintain his clients’ privileges and

confidences, Mr. Levy timely assured Plaintiffs’ counsel that this type of communication was

isolated and would not happen again. On May 17, 2021, Mr. Levy wrote to Plaintiffs’ counsel:

“[T]o the extent that you seek assurance that no attorney for my clients will contact anyone

associated with your clients about this case, other than you or others at your firm, you have

that assurance.” ECF No. 158-12 (Clare Decl. Exhibit I).1 And on July 6, 2021, Mr. Levy once

again confirmed in an email to Plaintiffs’ counsel that, other than the call between Mr. Taylor and

Mr. van der Zwaan, “Defendants’ counsel have not had any contact with Plaintiffs through anyone

other than their counsel and are not aware of contact with Plaintiffs other than through counsel,

and we have previously assured you that Defendants’ counsel will have no contacts with

Plaintiffs other than through counsel in the future.” ECF No. 158-15 (Clare Decl. Ex. L).




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 Plaintiffs’ counsel did not respond to this May 17, 2021 email. And it is noteworthy that
Plaintiffs’ counsel did not raise the issue again, until Plaintiffs and Alfa Bank started losing. To
wit, Plaintiffs’ counsel resuscitated this issue 46 days later, on July 1, 2021, just hours after
Defendants’ counsel had emailed to ask when Plaintiffs’ counsel would be responding to
Defendants’ counsel’s May 25, 2021 letter regarding Plaintiffs’ failure to comply with the
Court’s March 30, 2021 Order granting Defendants’ Motions to Compel, and a week after the
Maryland Circuit Court quashed a subpoena that Alfa Bank had served on Defendants’ co-
principal Peter Fritsch for lack of subject matter jurisdiction.

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          Plaintiffs’ Motion does not allege that Mr. Taylor’s call with Mr. van der Zwaan had any

impact whatsoever on Plaintiffs’ position with respect to either litigation or potential settlement.

Indeed, Plaintiffs’ have alleged nothing that happened as a result of that call, other than that Mr.

van der Zwaan called Mr. Clare. Plaintiffs have simply suffered no injury.

          Since Plaintiffs have suffered no harm from the events described in their motion, there is

no injury that sanctions could redress. Respectfully, the Court’s inquiry should end there.

          B.     Defense Counsel Did Not Act in Bad Faith.

          Even if the Court found that Plaintiffs had suffered some nominal injury from Mr. Taylor’s

brief conversation with Mr. van der Zwaan, sanctions would still be inappropriate because

Plaintiffs have not established—nor can they—that defense counsel acted in bad faith.

          Trial courts have inherent authority to sanction attorneys for misconduct, but “there must

first be a showing of bad faith before the court may wield that power.” Bredehoft v. Alexander,

686 A.2d 586, 589 (D.C. 1996). “Because of their very potency, inherent powers must be exercised

with restraint and discretion.” Id. (citing Chambers v. NASCO, Inc., 501 U.S. 32 (1991)). Due to

these “stringent standards, the awarding of attorneys’ fees for bad faith litigation is proper only

under extraordinary circumstances or when dominating reasons of fairness so demand.” In re

Jumper, 909 A.2d 173, 177 (D.C. 2006) (citing In re Estate of Delaney, 819 A.2d 968, 998 (D.C.

2003)).

          More than simple error or misjudgment is required to establish bad faith. See In re Jumper,

909 A.2d at 177 (“Bad faith must be distinguished from, for example, negligence . . .”). In Jumper,

the trial court noted at least seven examples of counsels’ conduct and written representations that

were potentially sanctionable, including “[meeting] with Ms. Jumper outside the presence of her

attorney without notifying her attorney or advising Ms. Jumper to consult her attorney, and




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convinc[ing] her to make changes to her estate plan that were favorable to appellant Anderson.”

Id. at 174-75. Yet, the D.C. Court of Appeals held that in the absence of an improper motive, such

as acting “vexatiously, wantonly, or for oppressive reasons,” an award of sanctions pursuant to the

court’s inherent authority was not justified. Id. at 177.

       Even as Plaintiffs allege them, Defense counsel’s actions in this case come nowhere near

the facts in Jumper. Mr. Taylor did not contact a party directly, nor did his call to Mr. Khan’s son-

in-law cause Mr. Khan or any other Plaintiff to take action that was disadvantageous to them.

Moreover, Mr. Taylor’s call to Mr. van der Zwaan was not made “vexatiously, wantonly, or for

oppressive reasons.” Id. at 177. Plaintiffs have not even claimed as much. To the contrary, Mr.

Levy has demonstrated his good faith by stating unequivocally that none of Defendants’ counsel

will have any contact with Plaintiffs other than through counsel going forward. Therefore,

sanctions against defense counsel are not warranted here.

       C.      Plaintiffs Have Not Alleged Any Fact That Would Support an Argument That
               Counsel of Record Has Violated Any Rule of Professional Conduct.

       Finally, Plaintiffs’ Motion also should be denied because Plaintiffs have not asserted any

fact that would show that any of Defendants’ counsel of record violated any of the D.C. Rules of

Professional Conduct.

       D.C. Rule of Professional Conduct 4.2 states that “[d]uring the course of representing a

client, a lawyer shall not communicate or cause another to communicate about the subject of the

representation with a person known to be represented by another lawyer in the matter . . . .” D.C.

Rule of Prof. Conduct 4.2(a). D.C. Rule of Professional Conduct 8.4 further provides that it is also

misconduct to “knowingly assist or induce another” to violate the Rules of Professional Conduct

or violate them “through the acts of another.” D.C. Rule of Prof. Conduct 8.4(a).




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       It is undisputed that Mr. Levy did not communicate with Plaintiffs, Mr. van der Zwaan, or

anyone else associated with Plaintiffs, other than their counsel. Plaintiffs have not asserted any

fact that supports their statement that Mr. Levy “caused,” “knowingly assist[ed]” or “induce[d]”

Mr. Taylor to do so, nor is there any basis for the Court to conclude that Mr. Levy was acting

through Mr. Taylor. The declaration that Plaintiffs submitted from Mr. van der Zwaan does not

state that Mr. Taylor made any representation that he was reaching out at Mr. Levy’s behest or on

his behalf. See ECF No. 158-2 (Decl. of Alex van der Zwaan). Indeed, the only mention of Mr.

Levy and his firm in Mr. van der Zwaan’s declaration is Mr. Taylor’s accurate relation to him that

Mr. Levy is currently representing Defendants. Id. ¶ 6.

       Mr. Taylor’s affidavit, submitted as an exhibit to his Motion to Intervene, makes it plain

that it was Mr. Taylor’s idea to call Mr. van der Zwaan. Motion to Intervene Ex. A at ¶ 8. As a

result, Mr. Levy did not “cause” Mr. Taylor to make the call, nor did he “assist” him or “induce”

him to call Mr. van der Zwaan.

       Moreover, even if Mr. Levy had been aware of Mr. Taylor’s contact with Mr. van der

Zwaan, undersigned counsel was not able to locate any case—and Plaintiffs have cited none—in

which an attorney’s mere knowledge of another’s actions, without any participation in those

actions, was sufficient to find a violation Rule 4.2 or Rule 8.4.

       Plaintiffs’ decision to include Ms. Clattenburg in their Motion and Order is even more

troubling. Though Mr. Levy’s law partner Rachel Clattenburg is also counsel of record for

Defendants, she is not mentioned in Mr. van der Zwaan’s declaration, nor is she involved in any

of the communications attached as exhibits to Plaintiffs’ motion. She is not lead counsel on the

case. Tellingly, Plaintiffs’ counsel did not mention her or ask a single question about her during

the July 6, 2021 Rule 7(m) meet and confer on this motion. Based on the information provided by




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Plaintiffs, there is no explanation why she is included. For lawyers who claim to be “loathe to level

accusations,” the inclusion of Ms. Clattenburg is a bizarre and unsupported ad hominem.

II.    THE COURT SHOULD NOT COMPEL DEFENSE COUNSEL TO DISCLOSE
       PRIVILEGED OR WORK PRODUCT MATERIALS TO PLAINTIFFS

       Plaintiffs’ motion claims that Defendants’ counsel have left “critical questions

unanswered” and asks the Court to compel counsel to provide “complete information” about Mr.

Taylor’s call to Mr. van der Zwaan and other attempts by defense counsel to contact Plaintiffs, if

any. ECF No. 158-1 at 7, 10. Leaving aside for the moment the fact that these questions are not

“critical” because Plaintiffs suffered no harm regardless of the circumstances of Mr. Taylor’s call

to Mr. van der Zwaan, see supra, Plaintiffs claim, without any analysis, that these questions “do

not implicate privileged information.” ECF No. 158-1 at 8. Plaintiffs are incorrect.

       Defense counsel cannot further respond to the questions posed by Plaintiffs’ counsel, such

as whether Mr. Levy was aware of Mr. Taylor’s call to Mr. van der Zwaan and “how this effort

came about,” see ECF No. 158-1 at 6, without divulging attorney-client communications and/or

attorney work product. Mr. Levy informed Plaintiffs’ counsel of this by email on May 17, 2021,

explaining that “[e]ach of your questions would require me to reveal privileged information. We

will not disclose privileged communications in response to your questions.” ECF. No. 158-12

(Clare Decl. Ex. I). Mr. Levy’s privilege concerns are well-founded.

       For Plaintiffs to show that Mr. Levy or Ms. Clattenburg “caused,” “knowingly assist[ed]”

or “induce[d]” Mr. Taylor to call Mr. van der Zwaan – as they must to show a violation of Rule

4.2 – they would have to show that there was a conversation or other communication between

counsel for Defendants. If such a communication happened and Defendants were involved in that

communication, the communication would be covered by the attorney client privilege. See Jones

v. United States, 828 A.2d 169, 175 (D.C. 2003); Adams v. Franklin, 924 A.2d 993, 998-99 (D.C.



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2007) (“The attorney-client privilege is one of the oldest recognized privileges for confidential

communications, and privileged communications are traditionally deemed worthy of maximum

legal protection.”). If such a communication happened and Defendants were not involved, it would

be a communication between counsel for the purpose of developing strategy in the case and would

be covered by the attorney work product doctrine.”2 English v. Washington Metropolitan Area

Transit Authority, 323 F.R.D. 1, 15 (D.D.C. 2017). Opinion work product is “virtually

undiscoverable.” Id. However, voluntary disclosure of any such communications by Mr. Levy to

counsel for Plaintiffs—his clients’ adversary in the current litigation—would result in waiver of

privilege over those communications as well as all communications on the same subject. See

United States v. Deloitte LLP, 610 F.3d 129, 140 (D.C. Cir. 2010); Chubb Integrated Systems Ltd.

v. National Bank of Washington, 103 F.R.D. 52, 63, 67 (D.D.C. 1984).

                                        CONCLUSION

       For all of the foregoing reasons, Plaintiffs’ motion should be denied.



Dated: July 22, 2021                                Respectfully submitted,


                                                    /s/ Joshua A. Levy

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 Such a conversation could, of course, also be privileged if it reflected communications with
Defendants.

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                            eas@levyfirestone.com

                            Counsel for Defendants




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 22, 2021, the foregoing Opposition was filed using

CM/ECF, which serves a copy on all counsel of record.




                                               /s/ Joshua A. Levy
                                               Joshua A. Levy




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